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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

MARKUS BLECHNER, CAPITAL INVEST,
DIE KAPITALANLAGEGESELLSCHAFT DER
BANK AUSTRIA CREDITANSTALT GRUPPE
GmbH, and ERSTE-SPARINVEST
KAPITALANLAGEGESELLSCHAFT, m.b.H.,
individually and on behalf of all
ethers Similarly situated,

Plaintiffs,
v. :Civil Action NO. Od-BBl-JJF

DAIMLER-BENZ AG, DAIMLER CHRYSLER
AG, JURGEN E. SCHREMPP, ECKHARD
CORDES, MANFRED GENTZ, JURGEN
HUBBERT, MANFRED BISCHOFF, KURT
LAUK, KLAUS MANGOLD, HEINER
TROPITZCH, KLAUS~DIETER VOHRINGER,
DIETER ZETSCHE, and THOMAS
SONNENBERG,

Defendants.

 

Seth D. Rigrodsky, Esquire, Of

MILBERG WEISS BERSHAD & SCHULMAN, Wilmington, Delaware.
Attorney for Plaintiffs Markus Blechner and Capital Invest, die
Kapitalanlagegesellschaft der Bank Austria Creditanstalt Gruppe
GmbH.

Gary F. Traynor, Esquire, Of

PRICKETT, JONES & ELLIOT, P.A., Wilmington, Delaware.

Attorney for Plaintiff Erste-Sparinvest Kapitalanlagegesellschaft
m.b.H.

Michael A. Barlow, Esquire cf
SKADDEN, ARPS, SLATE, MEAGHER & FLOM, Wilmington, Delaware.
Attorney for Defendants.

 

OPINION

January 3\:& , 2006
Wilmington, Delaware

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:Pending before the Court is the Motion Of Defendants

DaimlerChrysler AG And Daimler-Benz AG To Dismiss The Complaint

{D.I. 51). For the reasons discussed, the Motion will be
granted.
I. Factual Background

The following facts are alleged in Plaintiffs' Complaint.
In November 1998, Chrysler and Daimler-Benz merged to form
DaimlerChrysler, a German corporation. (D.I. l at 2).
Defendants, in order to secure shareholder approval, identified
this merger as a “merger-of-equals,” rather than as an
acquisition. ld. As a part of the merger-of-equals,
shareholders were allegedly promised that control would be shared
by managers from both companies and that the joining of the
companies was merely to “further ensuring greater synergies, cost
savings and spirited cooperative enthusiasm.” lg.

Plaintiffs contend that the “merger-of-equals” was in fact
an acquisition and that Defendants never intended there to be a
merger-of-equals. Plaintiffs contend that on November 17, 2000,
shareholders discovered that all Chrysler senior managers had
been removed from the Management Board and replaced with Daimler-
Benz employees. (D.I. l at 3-4). Plaintiffs assert that on
November 17, 2000, shares of DaimlerChrysler dropped $5.00 per

share, representing a market capitalization loss of over $5

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billion. (D.I. 1 at 4).
On May 24, 2004, Plaintiffs filed a Complaint individually
and on behalf of all others similarly situated
who are not citizens or residents of the United States
{“Foreign lnvestors”) who purchased or otherwise
acquired the securities of DaimlerChrysler AG (“Daimler
Chrysler” or the “Company”) between November 1?, 1998
and November 17, 2000..., including those former
shareholders of Chrysler Corporation (“Chrysler”) who
surrendered their Chrysler shares in connection with

the merger of Chrysler by and into the Company on or
about November 17, 1998, on or through a securities

exchange not based in the United States.

(D.I. 1 at 1)(emphasis added). The Complaint alleges violations
of § 14(a) of the Securities and Exchange Act of 1934 (“Exchange
Act"), § 11 of the Exchange Act, and § 12(a)(2) of the Securities
Act of 1933 (“Securities Act”) against all Defendants. (D.I. l).
Plaintiffs further allege that Defendants Daimler-Benz,
DaimlerChrysler, Schrempp, and Gentz violated § lO(b) of the
Exchange Act, that Defendants Schrempp and Gentz violated § 20(a)
of the Exchange Act, and that all individual Defendants violated
§ 15 of the Securities Act. ld.

Plaintiffs allege that because the “merger-of*equals” was in
fact an acquisition, they were denied the payment of a control
premium, and thus, received inadequate consideration in the
merger. (D.I. 1 at 2). Plaintiffs also allege that investors
were misled as to the risks of investing in DaimlerChrysler

because the investors believed that the creation of

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DaimlerChrysler was a merger-of-equals. ld. at 4. Finally,
Plaintiffs allege that Defendants “artificially inflated
[DaimlerChrysler’s] revenues and earnings and understated costs,
in order to create the appearance that the Company was achieving
the growth, synergies and cost savings promised by Defendants.”
ld.

On March l, 2005, Defendants DaimlerChrysler and Daimler-
Benz filed the instant Motion To Dismiss (D.I. 51).

II. Parties' Contentions

By their Motion, Defendants contend that the Court lacks
subject matter jurisdiction because federal securities laws do
not grant extraterritorial jurisdiction over Plaintiffs' claims,
or alternatively, that the Court should not hear the case due to
considerations of international comity and foreign policy.
Defendants further contend that the investors’ claims are barred
by the statute of limitations and that even if the claims are not
time-barred, Plaintiffs have failed to state a claim for which
relief can be granted under Rule 12(b)(6).

In response, Plaintiffs contend that the Court should hear
the case, first, because the Complaint alleges sufficient conduct
occurring in the United States to warrant the exercise of
jurisdiction, and second, because international comity and
foreign policy do not favor dismissal. Plaintiffs further

contend that the asserted claims are not barred by the statute of

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limitations and that a claim has been stated for which relief may
be granted under federal securities laws.
III. Discussion

The Court of Appeals for the Third Circuit has only
considered the extraterritorial reach of the federal securities
laws twice and has not ruled on the question since its decision
in Kasser in 1917. Tri-Star Farms Ltd. v. Marconi, 225 F. Supp.
2d 567, 574 (W.D. Pa. 2002). See SEC v. Kasser, 548 F.2d 109 (3d
Cir. 19??); see also Straub v. Vaisman & Co., 540 F.2d 591 (3d
Cir. 1916). Thus, the Court will examine several sources to
determine whether the exercise of jurisdiction is appropriate in
this case: a general canon of statutory interpretation, the Third
Restatement of Foreign Relations, two relevant cases decided by
the Third Circuit, the conduct and effects tests used by other
circuits and recently applied by the Western District of
Pennsylvania, case law concerning extraterritorial application in
class actions, and Second Circuit case law cited by the parties.

A. General Canon Of Statutorv Interpretation Against The
Extraterritorial Application Of Laws

Unless Congress has expressed intent otherwise, courts
should avoid the extraterritorial application of laws. W. Barton
Patterson, Definind the Reach of the Securities Exchanqe,Act:
Extraterritorial Apblication of the Anti-Fraud Provisions, 74
Fordham L. Rev. 213, 221 (2005)(citing Sale v. Haitian Ctrs.

Councilc Inc., 509 U.S. 155 (1993); EEOC v. Arabian Am. Oil Co.,

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499 U.S. 244 (1991); Folev Bros.J Inc. v. Filardo, 336 U.S. 281
(1949)). “This canon of construction is a valid approach whereby
unexpressed congressional intent may be ascertained. lt serves
to protect against unintended clashes between our laws and those
of other nations which could result in international discord.”
Asplundh Tree Expert Co. v. NLRB, 365 F.3d 168, 113 (3d Cir.
2004)(citations omitted).

The Court concludes that the general canon of statutory
interpretation against the extraterritorial application of laws
weighs against the exercise of jurisdiction in this case. The
securities laws are silent as to extraterritorial application,
and thus, Congress has not expressed an intent for them to apply
extraterritorially. SEC v. Ber er, 322 F.3d 187, 192 (2d Cir.
2002). Thus, in order to protect against a clash with another
nation’s laws as discussed in Asplundh Tree Expert Co., in this
case most probably the laws of Germany, the Court concludes that
it should decline to exercise jurisdiction over this matter.

B. Third Restatement Of Foreign Relations

In addition to the canon of statutory interpretation
discussed above, the Court finds the Third Restatement Of Foreign
Relations (“the Restatement”) helpful in resolving the issue of
whether the Court's exercise of jurisdiction is appropriate in a
case concerning a predominantly foreign transaction. Section 402

of the Restatement generally outlines the ways in which a nation

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may prescribe a law and specifically teaches that it is subject
to § 403, which prohibits the exercise of jurisdiction where it
is unreasonable and provides several factors to consider in
determining reasonableness. Restatement (Third) of Foreidn
Relations §§ 402-03 (2005). The jurisdiction to prescribe laws
specifically related to securities is provided in § 416, which
provides in pertinent part:

(1) The United States may generally exercise
jurisdiction to prescribe with respect to...

(d) conduct occurring predominantly in the United
States that is related to a transaction in
securities, even if the transaction takes
place outside the United States; or

(e) investment advice or solicitation of proxies
or of consents with respect to securities,
carried out predominantly in the United
StateS.

(2) Whether the United States may exercise jurisdiction
to prescribe with respect to transactions or conduct
other than those addressed in Subsection (1) depends on
whether such exercise of jurisdiction is reasonable in
the light of § 403, in particular

(a) whether the transaction or conduct has, or
can reasonably be expected to have, a
substantial effect on a securities market in
the United States for securities of the same
issuer or on holdings in such securities by
United States nationals or residents;

(b) whether representations are made or
negotiations are conducted in the United
States;

(c) whether the party sought to be subjected to
the jurisdiction of the United States is a
United States national or resident, or the
persons sought to be protected are United
States nationals or residents.

Restatement (Third) of Foreiqn Relations § 416 (2005).

After considering the principles taught by the Restatement,

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the Court concludes that the jurisprudence of the Restatement
weighs against the exercise of the Court's jurisdiction in this
case. The conduct asserted in the Complaint did not occur
predominantly in the United States; it occurred primarily in
Germany. Additionally, while the acquired corporation was an
American corporation and while some of the shareholders whose
solicitation was sought were American or residing in the United
States, the case before the Court concerns those shareholders who
have no connection to the United States and who did not surrender
their shares to an American market.

The Court also concludes that it would not be reasonable
under Restatement §§ 403 and 416 for the Court to exercise
jurisdiction in this case. The outcome in this case will not
affect American investors or markets. Also, while some
negotiations may have occurred in the United States, Plaintiffs,
the putative class, and Defendants are not American nationals or
residents. Finally, the Court recognizes that there may be
conflicts between the laws of the United States and different
nations, and other nations may have a greater interest in
regulating the people and activities within their borders.
Accordingly, the Court concludes that the Restatement does not
support the exercise of the Court’s jurisdiction over this

matter.

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C. Third Circuit Case Law

There are two cases in which the Third Circuit has addressed
the question of the extent to which extraterritorial jurisdiction
reaches under federal securities laws, Kasser and Straub. The
Court will examine each of these cases.

In Kasser, the Securities and Exchange Commission (“SEC”)
sought to invoke the jurisdiction of the federal courts in a case
against American defendants that allegedly defrauded a Canadian
company. Kasser, 548 F.2d 109. The district court concluded
that it lacked jurisdiction because “conduct without [an] effect
is insufficient for jurisdiction to attach.” ld. at 112. The
Third Circuit rejected this conclusion, stating that conduct
without effect was sufficient to confer jurisdiction and that the
court, under the facts alleged, had subject matter jurisdiction
over the claims. ld. at 113F14. In reaching its decision, the
Third Circuit took into account several policy considerations,
including whether a decision not to grant jurisdiction would
embolden defrauders and manipulators in the United States, the
desire to have other nations respond reciprocally to fraud
affecting their securities markets, and the goal in the law of
protecting domestic investors and markets from fraud. lg. at
116. The court also took into account the many activities of the
American defendants in the United States, including negotiating

and executing contracts, incorporating and establishing corporate

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offices, maintaining books and records, drafting documents, and
transmitting proceeds. ld. at 111-12. Given the policy
considerations and the amount of activity that took place in the
United States, the Third Circuit concluded that “Congress [could
not have intended] to allow the United States to be used as a
base for manufacturing fraudulent securities devices for export,
even when these are peddled only to foreigners.” ld. at 114
(quoting llT v. Vencap, Ltd., 519 F.2d 1001, 1017 (2d Cir.
1975}}. On these facts, the Third Circuit refused to “immunize,
for strictly jurisdictional reasons, defendants who unleash from
this country a pervasive scheme to defraud a foreign
corporation... especially ...where the corporation is owned by a
foreign governmental subdivision of a neighboring nation.”
Kasser, 548 F.2d at 114.

In Straub, a securities action was brought by several
foreign plaintiffs against the president of an American
securities brokerage for violations of federal securities laws.
Straub, 540 F.Zd 591. Concluding that it was not “faced with a
predominantly foreign transaction,” the Third Circuit did not
elaborate on the transnational scope of the federal securities
laws. ld. at 595. Rather, the Third Circuit emphasized the
policy considerations of regulating American brokers and building
confidence in the American securities market. With these

considerations in mind, the Third Circuit concluded that it had

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jurisdiction to hear the foreign plaintiffs’ claims because
“[t]he fraudulent scheme was conceived in the United States by
American citizens, involved stock in an American corporation
traded on [an] American over-the-counter exchange, and an
American securities broker from his office in New Jersey was
responsible for the wrongful omissions.” ld.

Relying on Straub, Plaintiffs argue that the Complaint
demonstrates that the “‘center of gravity' of the alleged fraud
was in the United States.” (D.l. 56 at 8). According to
Plaintiffs:

Defendants’ entire scheme revolved around its merger

with a bell-whether [sic] American company; the

combined entity claims to have headquarters in this

country and does a substantial amount of business here;

the fraud was intended to induce the largely American

shareholders of the American Chrysler corporation to

tender their shares; and the fraud was effected through

Defendants' actions to dismantle the American company's

management structure.

ld. Plaintiffs also argue that “most crucially” the Registration
Statement/Proxy-Prospectus, filed with the SEC, was drafted
jointly in the United States and Germany and the merger was to be
governed by Delaware law. _d. at 9. Plaintiffs also direct the
Court to the statement in Kasser that “the federal securities
laws do grant jurisdiction in transnational securities cases
where at least some activity designed to further a fraudulent

scheme occurs within this country.” Kasser, 548 F.2d at 114.

The Court, however, is not persuaded that either Kasser or

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Straub supports the Court's exercise of jurisdiction in this
case. Unlike Kasser, the case at bar does not involve a lawsuit
by the SEC against American defendants regarding an alleged
scheme “unleashed” from the United States. Although the Kasser
court recognized that the securities laws grant jurisdiction in
transnational cases where some activity to further a fraudulent
scheme occurs in the United States, “language elsewhere in Kasser
indicates that the level of domestic conduct, at the very least,
must be significant and material to the fraud. ‘Merely
preparatory’ or insubstantial conduct is not enough.” Tri-Star
Farms, Ltd., 225 F. Supp. 2d at 115 (quoting Kasser, 548 F.2d at
115). In this case, “conduct occurring within the borders of
[the United States] was [not] essential to the plan to defraud."
Kasser, 548 F.Zd at 115. While the company acquired was an
American corporation and while many of the alleged victims of the
fraud were American, the instant case involves the alleged
defrauding of foreign investors who exchanged on foreign markets.
The alleged fraud took place in Germany and was allegedly
perpetrated by Daimler-Benz, a German corporation, and its
controlling managers. Further, the number cf transactions within
the United States was limited.

As for Straub, the Court likewise concludes that the
circumstances here are distinguishable. In Straub, the defendant

was an American; in this case, all the parties are foreign.

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Here, the concern is not the integrity of American brokers or the
American securities market. Rather, the Court is presented with
a predominantly foreign transaction, which concerns foreign
security markets and a German corporation. In these
circumstances, the Court concludes that neither Kasser nor Straub
suggests requires the Court to exercise jurisdiction.

Further, the Court believes that the refusal to exercise
jurisdiction over this case is consistent not only with the
analyses of Kasser and Straub, but also with the policy
considerations set forth in those cases. A decision that the
Court should not exercise jurisdiction in this case will not
embolden defrauders and manipulators to use the United States as
a base of operations. The alleged defrauders and manipulators in
this case are German, and the amount of activity that took place
in the United States is minimal. Thus, there is very little
deterrent value supporting the exercise of the Court’s
jurisdiction. Similarly, because the investors, and the markets
to which they surrendered their shares, are foreign, exercising
jurisdiction over this case would do little to protect domestic
investors or markets or to build trust in American brokers.
Finally, if the Court were to exercise jurisdiction it could
cause other countries to reciprocate by exercising jurisdiction
in cases concerning primarily American parties and interests.

Plessev Co. plc v. Gen. Elec. Co. plc, 628 F. Supp. 47?, 496 (D.

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Del. 1986) (discussing how the reciprocal response policy
discussed in Kasser could actually work to the United States'
disadvantage). Accordingly, the Court concludes that Third
Circuit case law does not support the exercise of the Court's
jurisdiction in this case.

D. The Conduct And Effects Tests

Courts considering the extent of the courts' jurisdiction in
securities cases have also used the conduct and effects tests to
determine whether extraterritorial jurisdiction is appropriate.
Under the conduct test, a court “asks whether the fraudulent
conduct that formed the alleged violation occurred in the United
States.” Robinson v. TCl/U.S. W. Comms. Inc., 117 F.3d 900, 905
(5th Cir. 1997). See also Leasco Data Processing Eduib. CorD. v.
Maxwell, 468 F.2d 1326, 1336-37 (2d Cir. 1972). Under the
effects test a court “asks whether conduct outside the United
States has had a substantial adverse effect on American investors

or securities markets.” Robinson, 117 F.Bd at 905. See also

 

Schoenbaum v. Firstbrook, 405 F. 2d 200, 206 (2d Cir. 1968).
Jurisdiction can be established by meeting either test.
Robinson, 117 F.3d at 905.

The Western District of Pennsylvania recently utilized the

conduct and effects tests.l ln a case similar to the one at bar,

 

lThe Court notes that the District Court of New Jersey
decided a case on this issue after the parties had filed their
papers relevant to the instant Motion. In re Ro al Dutch Shell

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the court concluded that it lacked jurisdiction to hear the
claims of foreign plaintiffs that alleged violations of the
Exchange and Securities Acts. Tri-Star Farms, 225 F. Supp. 2d
567. The case had been split, allowing the American plaintiffs
and plaintiffs who had purchased stock on an American market to
go forward with their claims, while the court considered whether
it had jurisdiction over the claims of foreign plaintiffs that
had purchased stock on foreign markets. lg. at 517 n.6.

In analyzing the jurisdiction question, the Tri-Star Farms
court concluded that “the United States-based conduct in Straub
and Kasser was so extensive that jurisdiction was likely proper
under any standard.” ld. at 576. As a result, the court looked
to other courts for its analysis and applied the conduct and
effects tests. lg. at 573 (citing Robinson, 117 F.3d at 905).
The court concluded that the plaintiffs did not meet the effects
test because the investors were not American, they did not use an
American exchange, and they did not suffer any effects of the
alleged wrongful conduct in the United States. Tri-Star Farms,
225 F. Supp. 2d at 572-73. Also, after considering what degree
of conduct would be required, the court concluded that plaintiffs

did not meet the conduct test because the plaintiffs' claims

 

Transb. Sec. Litig., 380 F. Supp. 2d 509 (D.N.J. 2005). While
the district court concluded that it had jurisdiction, the Court
finds Tri-Star Farms more persuasive, particularly in light of
the differences between this case and the Third Circuit's
decisions in Kasser and Straub.

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involved conduct that primarily took place in the United Kingdom,
and thus, the activity that occurred in the United States was not
substantial enough to provide jurisdiction over the claims. ld.
at 576-78. Accordingly, the court concluded that it lacked
jurisdiction to hear the claims of the foreign plaintiffs.

The Court finds the decision in Tri-Star Farms persuasive
and concludes that application of the conduct and effects tests
in this case weighs against the exercise of the Court's
jurisdiction. The Court finds that Plaintiffs’ Complaint fails
to meet the effects test for the same reasons the plaintiffs’
failed in Tri-Star Farms. Specifically, the investors are not
American, did not use an American exchange, and did not suffer
any effects of the alleged wrongful conduct in the United States.
The Court also finds that Plaintiffs' Complaint fails under the
conduct test because, as discussed above, the conduct that
comprises Plaintiffs’ claims occurred predominantly outside the
United States. Accordingly, the Court concludes that the conduct
and effects tests do not support a finding of jurisdiction in

this case.

E. Extraterritorial Application Of Federal Securities Laws
In Class Actions

This case is presented to the Court as a potential class
action involving foreign parties entirely, which may present
problems, not only with finality and enforcement, but also with

the pendency of the case. In Tri-Star Farms, the court commented

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that class action lawsuits present problems in the exercise of
extraterritorial jurisdiction and noted that neither Straub nor
Kasser involved a class action lawsuit. Tri-Star Farms, 225 F.
Supp. 2d at 577. Class actions may require different treatment
from cases in which there are individual plaintiffs due to “the
likelihood that a very small tail may be wagging an elephant
and...the doubt that a judgment of an American court would
protect the defendants elsewhere.” _ll, 519 F.2d at 1018 n.31.
Accordingly, the Court declines to exercise jurisdiction for the
additional reason that this action is presented as a potential
class action.

F. Second Circuit Case Law

In addition to Third Circuit case law, Plaintiffs also cite
cases from the Second Circuit to support their argument that the
Court has jurisdiction over their claims. While the Third
Circuit has looked to Second Circuit case law in its discussions
of the extraterritorial application of federal securities laws,
the cases Plaintiffs cite present circumstances which are
different from the circumstances here. §ee Kasser, 548 F.2d 109;
Straub, 540 F.2d 591; Plessey, 628 F. Supp. 477; Tri-Star Farms,
225 F. Supp. 2d 567. At least one of the cases cited by
Plaintiffs is not a class action. See Itoba Ltd. v. Lep Group,
PLC, 54 F.3d 118, 123 (2d Cir. l995){distinguishing that case

from Nathan Gordon Trust v. Northgate Exploration. Ltd., 148

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F.R.D. 105 (S.D.N.Y 1993), finding that “the instant case
involves a single plaintiff asserting direct individual fraud”
and not a class action discretionarily divided for purposes of
extraterritorial jurisdiction). Other cases Plaintiffs cite
involve parties that are located in the United States. §§e §_§
v. Berger, 322 F.3d 187 (defendant located in the United States);
Cromer Fin. v. Berger, 137 F. Supp. 2d 452 (S.D.N.Y. 2001); ln_re
Vivendi Universal, 2004 U.S. Dist. LEXIS 21230 (S.D.N.Y 2004)
(agents of defendant located in and operating out of the United
States). Additionally, some of the cases to which Plaintiffs
refer involve exchanges on American markets. §ee Leonard v.
Garantia Banking Ltd., No. 98 Civ. 4848, 1999 U.S. Dist. LEXIS
16046 (S.D.N.Y. Oct. 18, 1999)(trading occurred on the NYSE);
Sloane Overseas Fund Ltd. v. Sapiens Int’l Corp., 941 F. Supp.
1369, 1374 (S.D.N.Y. 1996) (trading occurred on the NASDAQ).
Finally, some of these cases involve a greater amount of conduct
occurring in the United States. See In re Gaminq Lotterv Sec.
Litig., 58 F. Supp. 2d 62 (S.D.N.Y. 1999) (acquisition of
Washington corporation where defendant conducted alleged illegal
activities in addition to the purposeful deception of a
Washington state agency led to a finding of jurisdiction).
Accordingly, the Court finds the Second Circuit cases cited by

Plaintiffs are distinguishable from the circumstances in this

case, and therefore, the Court concludes that the Second Circuit

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decisions do not support the exercise of the Court's
jurisdiction.
IV. Conclusion

ln sum, for the reasons discussed, the Court concludes that
the exercise of jurisdiction over this case is inappropriate, and
therefore, the Court will grant the Motion Of Defendants
DaimlerChrysler AG And Daimler-Benz AG To Dismiss The Complaint
(D.I. 51).

An appropriate Order will be entered.

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